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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                             SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                    )
                                             )
             vs.                             )     Cause No.    3:12-CR-128(7) RLM
                                             )
 RICKEY HEMPHILL                             )

                                OPINION AND ORDER

       Rickey Hemphill pleaded guilty in May 2013 to a violation of 18 U.S.C.

 1962(c), and was sentenced to a term of 174 months’ imprisonment. As part of his

 plea agreement, Mr. Hemphill waived the right to appeal his conviction and

 sentence or to file any post-conviction proceedings, but is now before the court

 requesting a transcript of his sentencing hearing.

       Mr. Hemphill may obtain a transcript of the sentencing hearing for a fee by

 contacting the court reporter at (574) 246-8039, but his right to receive

 transcripts at government expense under 28 U.S.C. § 753(f) ended when the

 criminal proceedings in this court ended.1




       1
         28 U.S.C. § 753(f) provides in pertinent part:
              Fees for transcripts furnished in criminal proceedings to persons
       proceeding under the Criminal Justice Act (18 U.S.C. § 3006A), or in habeas
       corpus proceedings to persons allowed to sue, defend, or appeal in forma
       pauperis, shall be paid by the United States out of moneys appropriated for
       those purposes. Fees for transcripts furnished in proceedings brought
       under section 2255 of this title to persons permitted to sue or appeal in
       forma pauperis shall be paid by the United States out of money
       appropriated for that purpose if the trial judge or a circuit judge certifies
       that the suit or appeal is not frivolous and that the transcript is needed to
       decide the issue presented by the suit or appeal.
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       Accordingly, Mr. Hemphill’s request for a transcript of the sentencing

 hearing [Doc. No. 331] is DENIED.2

       SO ORDERED.

       ENTERED:       June 16, 2016



                                    /s/ Robert L. Miller, Jr.
                                  Judge
                                  United States District Court




       2
         Mr. Hemphill also requested copies of the plea agreement, judgment, and docket
 sheet. Those documents are matters of public record and were mailed to Mr. Hemphill
 upon receipt of the request. [See Doc. No. 331].

                                           2
